 JOHN S. PETERSON                                                       Honorable Marc L. Barreca
 WSBA #13985                                                                           Chapter 7
 PO Box 829
 Kingston, WA 98346
 Ph (360) 626-4392

                       UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF WASHINGTON AT SEATTLE

  IN RE:
                                                            NO. 14-10421-MLB
  CASEY R. INGELS,
                                      Debtor.
  ________________________________________
  JOHN S. PETERSON, in his capacity as Chapter
  7 trustee,                                                ADVERSARY
                                                            CAUSE NO. 14-01387-MLB
                                           Plaintiff,
  v.                                                        NOTICE OF INTENT TO
                                                            OFFER BUSINESS RECORDS
  CASEY R. INGELS,

                                        Defendant.



                NOTICE IS HEREBY PROVIDED that the Plaintiff, John S. Peterson, as
 Trustee, intends to offer the following business record into evidence:

 Audio recording of 341 Meeting of Casey Ingels dated March 11, 2014, maintained by
 Office of the US Trustee, Seattle.

 The recording and certification in compliance with FRE 803(6) are available from the

 Office of the US Trustee, 700 Stewart St., Suite 5103, Seattle, WA 98103. The recording

 is also available upon request from the Plaintiff at the address provided below.

 DATED March 20, 2015


                                                 /s/ JOHN S. PETERSON
                                                 John S. Peterson, WSBA #13985
                                                 Attorney for Plaintiff




  NOTICE OF INTENT TO OFFER BUSINESS RECORD -1           JOHN S. PETERSON, ATTORNEY AT LAW
                                                         P.O. BOX 829, KINGSTON, WA 98346
                                                         PHONE: (360) 626-4392 kingstontrustee@hotmail.com




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